Case 4:24-cv-09104-JST             Document 19-3        Filed 04/01/25         Page 1 of 1
                                    CERI IFlCA'l’E OF SERVICE

1.   Case name: COHESITY, INC. v. CARTESIAN THEATRE CORP., and DOES 1-25

2.   Case number: 4;24-cv-09104

3.   What (iocuments were served? uefendanf s motion to stay, request for judicial notice, and
proposed order
4.   How were the documents served? Check one

           Placed in U.S. Mail

           Hand-delivered                                                             APR 0 1 2025
           Sent for delivery (e.g., FedEx, UPS)                                  CLERfy U.S. DISTRICT SOURT
                                                                                north district of CALIFORNIA
                                                                                      OAKLAND OFFICE
           Sent via email (if the other parly has agreed to accept serve by email)

     SM Sent via fax (if the other party lias agreed to accept serve by fax)
5. Who did you send the documents to? Michael C. Hendershot by email to
mhendcr$hot@ioncsdav.com and by fax to -p! (650) 739-3900. Catherine T, Zeng by email to
czeng@ionesdav.com and by fax to +1 (650) 739-3900.

6.   When were the documents sent? March 24, 2025.

7    Who sei*ved the documents? Kip Warner.


I declare under penalty of perjury under the laws of the United States that the foregoing is true and
correct.


Signature:
Name;         Rip Warner
Address:      2200    1177 West Hastings St, Vancouver, BC, Canada V6E 2K3
